  Case 19-31956-KRH                      Doc 8 Filed 04/19/19 Entered 04/20/19 00:27:34                                   Desc Imaged
                                              Certificate of Notice Page 1 of 5
Information to identify the case:
Debtor 1              John E. Altieri                                                   Social Security number or ITIN        xxx−xx−3459
                      First Name   Middle Name   Last Name                              EIN 47−5428781
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Eastern District of Virginia
                                                                                        Date case filed for chapter 7 4/11/19
Case number:          19−31956−KRH


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                              12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                             About Debtor 1:                                        About Debtor 2:

1.     Debtor's full name                    John E. Altieri

2.     All other names used in the           dba Rhuberry LLC
       last 8 years

3.     Address                               3551 Calvins Pond Trail
                                             Powhatan, VA 23139

4.     Debtor's attorney                     Graham Thornton Jennings Jr.                           Contact phone (804) 598−7912
       Name and address                      Graham T. Jennings, Jr., P.C.                          Email: powlaw@gjenningspc.com
                                             P. O. Box 426
                                             Powhatan, VA 23139

5.     Bankruptcy trustee                    Bruce E. Robinson                                      Contact phone (434) 447−7922
       Name and address                      P.O. Box 538                                           Email: bruce.robinsontr@gmail.com
                                             South Hill, VA 23970−0538
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
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Debtor John E. Altieri                                                                                        Case number 19−31956−KRH


6. Bankruptcy clerk's office                     701 East Broad Street                                  For the Court:
                                                 Richmond, VA 23219
    Documents in this case may be                                                        Clerk of the Bankruptcy Court:
    filed at this address. You may         Hours open Monday − Friday, 9:00 AM − 4:00 PM William C. Redden
    inspect all records filed in this case ET, except on holidays.
    at this office or online at                                                          Date: April 17, 2019
    www.pacer.gov.                         Contact phone 804−916−2400
    McVCIS 24−hour case
    information:
    Toll Free 1−866−222−8029

7. Meeting of creditors                          May 20, 2019 at 10:00 AM                               Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a         Office of the U.S. Trustee, 701
    questioned under oath. In a joint case,                                                             East Broad Street − Suite 4300,
    both spouses must attend. Creditors may      later date. If so, the date will be on the court
    attend, but are not required to do so.       docket.                                                Richmond, VA 23219−1885


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or           Filing deadline: July 19, 2019
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of
                                                   the subdivisions of 11 U.S.C. § 727(a)(2)
                                                   through (7),
                                                   or
                                                 • if you want to have a debt excepted from
                                                   dischargeunder 11 U.S.C § 523(a)(2),
                                                   (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be
                                                   denied under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                      Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property       conclusion of the meeting of
                                                 as exempt. If you believe that the law does not        creditors
                                                 authorize an exemption claimed, you may file an
                                                 objection.

10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.
                                                                                                               For more information, see page 3 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 2
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Debtor John E. Altieri                                                                                         Case number 19−31956−KRH


12. Exempt property                    The law allows debtors to keep certain property as exempt. Fully exempt property will not be
                                       sold and distributed to creditors. Debtors must file a list of property claimed as exempt. You
                                       may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe
                                       that the law does not authorize an exemption that the debtors claim, you may file an objection.
                                       The bankruptcy clerk's office must receive the objection by the deadline to object to
                                       exemptions in line 9.
13. Local Rule Dismissal               Case may be dismissed for failure to timely file lists, schedules and statements, or to attend
    Warning                            meeting of creditors. (Local Bankruptcy Rules 1007−1, 1007−3, and 2003−1.) Trustee may at
                                       the meeting give notice of intention to abandon property burdensome or of inconsequential
                                       value or intent to sell nonexempt property that has an aggregate gross value less than
                                       $2,500. Objections thereto must be filed pursuant to Local Bankruptcy Rules 6004−2 and
                                       6007−1.
14. Payment of Fees for                Exact Change Only accepted as of February 4, 2008, for payment of fees and services.
    Richmond Case and                  Payment may be made by non−debtor's check, money order, cashier's check or a 'not to
    Adversary Filing and               exceed check' made payable to Clerk, U.S. Bankruptcy Court, or any authorized non−debtor's
    Miscellaneous Requests             credit card.
Electronic bankruptcy notices are delivered faster than the U.S. Mail if you have a PC with Internet connection or a Fax machine.
For more information, go to bankruptcynotices.uscourts.gov or call, toll free: 877−837−3424. Case/docket information available
on Internet @ www.vaeb.uscourts.gov

ATTENTION DEBTORS: Receive your court notices and orders by email through the DeBN. Same−day delivery. Convenient
Access. Free. For more information and to download the request form, go to www.vaeb.uscourts.gov and select the Debtor
Electronic Bankruptcy Noticing link from the ATTENTION DEBTORS DeBN banner.
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        Case 19-31956-KRH       Doc 8 Filed 04/19/19 Entered 04/20/19 00:27:34                 Desc Imaged
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                                      United States Bankruptcy Court
                                      Eastern District of Virginia
In re:                                                                                  Case No. 19-31956-KRH
John E. Altieri                                                                         Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0422-7           User: glennj                 Page 1 of 2                   Date Rcvd: Apr 17, 2019
                               Form ID: 309A                Total Noticed: 41


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 19, 2019.
db             +John E. Altieri,    3551 Calvins Pond Trail,     Powhatan, VA 23139-5851
14809086        Bank of America,    P.O. Box 15710,    Wilmington, DE 19850-5710
14809089        Capital One,    PO Box 71087,    Charlotte, NC 28272-1087
14809091       +Capital One/Bass,    PO Box 30281,    Salt Lake City, UT 84130-0281
14809092        CashNet USA,    PO Box 206739,    Dallas, TX 75320-6739
14809095        Chesterfield County Utilities,     PO Box 20725,    Richmond, VA 23261-0000
14809099      ++FUNDBOX INC,     300 MONTGOMERY ST,    SUITE 900,    SAN FRANCISCO CA 94104-1921
               (address filed with court: Fundbox,      300 Montgomery Street,    San Francisco, CA 94104-0000)
14809098       +Fifth Third Bank,    PO Box 740789,    Cincinnati, OH 45274-0789
14809101       +Kabbage Celtic Bank,    268 State Street,    #300,    Salt Lake City, UT 84111-5314
14809102       +Kevin & Sue Cassidy,    103 Light Court,    Folsom, CA 95630-1570
14809103        Kroger/US Bank,    PO Box 79048,    Saint Louis, MO 63179-0000
14809104       +Lending Club,    595Market St. Suite 200,    San Francisco, CA 94105-2803
14809105       +Margaret Altieri,    3510 Sherwood Bluff Way,     Powhatan, VA 23139-4343
14809106       +Melanie Friend,    CowanGates Law Firm,    1930 Huguenot Road,    Richmond, VA 23235-4304
14809107        Mr. Cooper,   PO Box 650783,     Dallas, TX 75265-0783
14809108        Nationstar Mortgage LLC,    8950 Cypress Waters Blvd,     Irving, TX 75063-0000
14809111       +Powhatan County,    PO Box 87,    Powhatan, VA 23139-0087
14809112       +Quicksilver Capital,    4208 13th Avenue,    Brooklyn, NY 11219
14809115       +SYNCB/Summit,    PO Box 960061,    Orlando, FL 32896-0061
14809119        Vital Recovery Service,    PO Box 923748,    Peachtree Corners, GA 30010-3748
14809121        Wells Fargo Dealer Services,     PO Box 17900,    Littleton, CO 80127-0000

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: powlaw@gjenningspc.com Apr 18 2019 03:42:30        Graham Thornton Jennings, Jr.,
                 Graham T. Jennings, Jr., P.C.,    P. O. Box 426,     Powhatan, VA 23139
tr              E-mail/Text: brobinson@iq7technology.com Apr 18 2019 03:44:26        Bruce E. Robinson,
                 P.O. Box 538,    South Hill, VA 23970-0538
14809084       +EDI: AMEREXPR.COM Apr 18 2019 07:18:00       American Express,    P.O. Box 1270,
                 Newark, NJ 07101-1270
14809085       +E-mail/Text: bk@avant.com Apr 18 2019 03:44:12        Avant,   222 N LaSalle St., Ste 1700,
                 Chicago, IL 60601-1101
14809087        EDI: BANKAMER2.COM Apr 18 2019 07:18:00       Bank of America,    P.O. Box 25118,
                 Tampa, FL 33622-5118
14809088       +EDI: CAPITALONE.COM Apr 18 2019 07:18:00       Capital One,    PO Box 71083,
                 Charlotte, NC 28272-1083
14809090       +EDI: CAPITALONE.COM Apr 18 2019 07:18:00       Capital One Bank,    P.O. Box 71083,
                 Charlotte, NC 28272-1083
14809093        EDI: CHASE.COM Apr 18 2019 07:18:00       Chase,    Cardmember Services,    PO Box 15153,
                 Wilmington, DE 19886-5153
14809094       +E-mail/Text: mayfieldi@chesterfield.gov Apr 18 2019 03:44:20        Chesterfield County Treasurer,
                 PO Box 70,    Chesterfield, VA 23832-0906
14809096        E-mail/Text: saxonl@chesterfield.gov Apr 18 2019 03:44:23        Chesterfield Utilities,
                 Account Collections Section,    PO Box 608,     Chesterfield, VA 23832-0009
14809097       +EDI: DISCOVER.COM Apr 18 2019 07:18:00       Discover,    PO Box 71084,    Charlotte, NC 28272-1084
14809099        E-mail/Text: bankruptcyfilings@fundbox.com Apr 18 2019 03:42:45         Fundbox,
                 300 Montgomery Street,    San Francisco, CA 94104-0000
14809100        EDI: IRS.COM Apr 18 2019 07:18:00      Internal Revenue Service,     PO Box 7346,
                 Philadelphia, PA 19101-7346
14809109       +EDI: NAVIENTFKASMDOE.COM Apr 18 2019 07:18:00        Navient - US Department of Edu,
                 PO Box 740351,    Atlanta, GA 30374-0351
14809110       +E-mail/Text: netcreditbnc@enova.com Apr 18 2019 03:44:18        Net Credit,    175 W Jackson Blvd,
                 Ste 1000,   Chicago, IL 60604-2863
14809113       +EDI: RMSC.COM Apr 18 2019 07:18:00      SYNCB/Amazon,     PO Box 960013,    Orlando, FL 32896-0013
14809114       +EDI: RMSC.COM Apr 18 2019 07:18:00      SYNCB/Lowes,     PO Box 530914,    Atlanta, GA 30353-0914
14809116       +EDI: RMSC.COM Apr 18 2019 07:18:00      SYNCB/Walmart,     PO Box 530927,    Atlanta, GA 30353-0927
14809118        EDI: TFSR.COM Apr 18 2019 07:18:00      Toyota Financial Services,      PO Box 5855,
                 Carol Stream, IL 60197-5855
14809117       +EDI: WTRRNBANK.COM Apr 18 2019 07:18:00       Target,    PO Box 660170,    Dallas, TX 75266-0170
14809120       +EDI: WFFC.COM Apr 18 2019 07:18:00      Wells Fargo,     PO Box 77053,
                 Minneapolis, MN 55480-7753
                                                                                                 TOTAL: 21

           ***** BYPASSED RECIPIENTS *****
NONE.                                                                                          TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).
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District/off: 0422-7                  User: glennj                       Page 2 of 2                          Date Rcvd: Apr 17, 2019
                                      Form ID: 309A                      Total Noticed: 41


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 19, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 12, 2019 at the address(es) listed below:
              Bruce E. Robinson   bruce.robinsontr@gmail.com,
               therese.rogerstra@gmail.com;brobinson@IQ7Technology.com;brobinson@ecf.epiqsystems.com
              Graham Thornton Jennings, Jr.   on behalf of Debtor John E. Altieri powlaw@gjenningspc.com,
               r60184@notify.bestcase.com
              John P. Fitzgerald, III   USTPRegion04.RH.ECF@usdoj.gov
                                                                                            TOTAL: 3
